                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
vs.                                            )       Case No. 12-00082-01-CR-W-GAF
                                               )
ANDREA D. CROWN,                               )
                                               )
                       Defendant.              )

                                              ORDER

       Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer, to which no objection has been filed, the plea of guilty is now accepted. Defendant is

adjudged guilty of such offense. Sentencing will be set by subsequent order of the court.

                                                       s/ Gary A. Fenner
                                                       GARY A. FENNER, JUDGE
                                                       UNITED STATES DISTRICT COURT

DATED: February 28, 2013




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